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CONFIDENTIAL

INTEROFFICE MEMO

TO: Susan Trainor.
Ft U-
FROM: Donna Landry, Director of Operations/HR
DATE: January 28, 2011
RE: FMLA Clarification

In follow up to our discussion yesterday, you indicated that you may need to use FMLA to come to work
late or leave early, possibly ona daily basis and that.is what.was meant by what your physician wrote in
your certification. This is inconsistent with what was actually written. Please have your physician clarify
what she anticipates your need for leave will be, in writing and return to me by February 8, 2011.
